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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA

                   - against -                     21-CR-65 (RJD)

LUIS ENRIQUE MARTINELLI LINARES


                        Defendant.

– – – – – – – – – – – – – – –X

                           DECLARATION OF PUBLICATION

        According to my review of the electronic database maintained by the Department of
Justice, Notice of Criminal Forfeiture was posted on an official government internet site
(www.forfeiture.gov) for at least 30 consecutive days, beginning on November 10, 2022 and
ending on December 9, 2022, as required by 21 U.S.C. § 853(n)(1), and evidenced by
Attachment 1.

       I declare under penalty of perjury that the foregoing is true and correct. Executed
on January 10, 2023.

                                                   Samuel Williams
                                                   Samuel Williams
                                                   PROMinds Records Examiner
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                                   Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between November 10, 2022 and December 09, 2022. Below is a summary report that identifies the
uptime for each day within the publication period and reports the results of the web monitoring system’s
daily check that verifies that the advertisement was available each day.

U.S. v. Luis Enrique Martinelli Linares, et al.

Court Case No:                CR-21-0065
For Asset ID(s):              See Attached Advertisement Copy

   Consecutive           Date Advertisement        Total Hours Web Site             Verification that
   Calendar Day           Appeared on the          was Available during              Advertisement
       Count                  Web Site                 Calendar Day                existed on Web Site
         1                   11/10/2022                      23.9                          Verified
         2                   11/11/2022                      23.9                          Verified
         3                   11/12/2022                      23.9                          Verified
         4                   11/13/2022                      23.8                          Verified
         5                   11/14/2022                      23.8                          Verified
         6                   11/15/2022                      23.9                          Verified
         7                   11/16/2022                      23.9                          Verified
         8                   11/17/2022                      23.9                          Verified
         9                   11/18/2022                      23.9                          Verified
        10                   11/19/2022                      23.9                          Verified
        11                   11/20/2022                      23.8                          Verified
        12                   11/21/2022                      23.9                          Verified
        13                   11/22/2022                      23.9                          Verified
        14                   11/23/2022                      23.9                          Verified
        15                   11/24/2022                      23.9                          Verified
        16                   11/25/2022                      23.9                          Verified
        17                   11/26/2022                      23.9                          Verified
        18                   11/27/2022                      23.9                          Verified
        19                   11/28/2022                      23.9                          Verified
        20                   11/29/2022                      23.9                          Verified
        21                   11/30/2022                      23.9                          Verified
        22                   12/01/2022                      23.8                          Verified
        23                   12/02/2022                      23.9                          Verified
        24                   12/03/2022                      23.9                          Verified
        25                   12/04/2022                      23.9                          Verified
        26                   12/05/2022                      23.9                          Verified
        27                   12/06/2022                      23.9                          Verified
        28                   12/07/2022                      23.9                          Verified
        29                   12/08/2022                      23.9                          Verified
        30                   12/09/2022                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
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Attachment 1


                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK
               COURT CASE NUMBER: CR-21-0065; NOTICE OF FORFEITURE

        Notice is hereby given that on May 27, 2022, in the case of U.S. v. Luis Enrique
Martinelli Linares, et al., Court Case Number CR-21-0065, the United States District Court
for the Eastern District of New York entered an Order condemning and forfeiting the
following property to the United States of America:

      All right, title, and interest in all funds previously held in an attorney escrow account
      at International Finance Bank held for the benefit of Luis Enrique & Ricardo Alberto
      Martinelli Linares, account number 011648 (21-FBI-010156);

      All right, title, and interest in the real property and premises (the "Real Property")
      located at Icon Tower, 495 Brickell Avenue, Apt 4701, Miami, FL, 33131, and all
      proceeds traceable thereto (21-FBI-010168), including but not limited to the net
      proceeds from the sale of the Real Property and approximately $5,173.42 in rental
      income derived from the Real Property (22-FBI-007244);

      All right, title, and interest in all funds previously restrained by U.S. Immigration and
      Customs Enforcement in connection with defendant Luis Enrique Martinelli
      Linares's immigration bond, file no. A***_**4-620, Bond Receipt no. KROC1900454,
      and associated with Treasury Account Symbol 70X6697 fund code 05 in the
      approximate amount of $1,032,508.14 (22-FBI-000907);

      All right, title, and interest in approximately six hundred sixty-nine thousand dollars
      and zero cents ($669,000.00) from Luis Enrique Martinelli Linares (22-FBI-000974);

      All right, title, and interest in approximately six hundred sixty-nine thousand
      ninety-four dollars and forty cents ($669,094.40) from Ricardo Alberto Martinelli
      (22-FBI-002883);

      All right, title, and interest in all funds on deposit at Bank Vontobel AG in Switzerland
      in account no. 10.520976-6 held in the name of Diamong Investments Corp.
      (22-FBI-007146);

      All right, title, and interest in all funds on deposit at Bank Vontobel AG in Switzerland
      in account no. 10.328861-1, held in the name of Waterspoon International Ltd.
      (22-FBI-007147); and

      All right, title, and interest in UBS (Switzerland) account in the name of Schmid
      Rechtsanwalte, account CH-0023-0230-1103-5365L, in the approximate amount of
      $7,703,673.89 (22-FBI-007148).

      The United States hereby gives notice of its intent to dispose of the forfeited
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property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (November 10, 2022) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 225 Cadman Plaza East, Brooklyn, NY 11201,
and a copy served upon Assistant United States Attorney Laura Mantell, 271 Cadman
Plaza East, 7th Floor, Brooklyn, NY 11201. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Laura Mantell, 271 Cadman Plaza East, 7th Floor, Brooklyn, NY 11201. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
